Case 2:22-cv-02048-JAR-ADM Document 16-2 Filed 06/03/22 Page 1of2

EXHIBIT

Bo

AUDIT PROPOSAL

 

Reviewing Community College Athletic Programs

SOURCE
This audit was requested by Representative Kristey Williams.

BACKGROUND

Kansas community colleges offer a variety of intercollegiate sports such as basketball,
football, and track. In many cases, community colleges recruit athletes to play at their school.
Athletes can be recruited from the local community or from out of the state or country. The
Kansas Jayhawk Community College Conference (KICCC) and the National Junior College
Athletic Association (NJCAA) set rules for student athlete recruitment and scholarships. For
example, the NJCAA requires that athletes meet certain academic standards. Further, KICCC
limits the number of football scholarships that a community college can offer to out-of-state
players. According to the KICCC, about 3,000 Kansas community college athletes participate
in KICCC sponsored sports annually.

Legislators have expressed concern that community college athletic programs may be
funded by local and state taxpayers, but most athletes come from other counties or other

states.

AUDIT OBJECTIVES AND TENTATIVE METHODOLOGY

The audit objectives listed below are the questions we would answer through our audit
work. The steps listed for each objective convey the type of work we would do. These may
change as we learn more about the audit issues.

Objective 1: How much did community colleges spend on athletic programs in recent
years and what were the source of those funds? Our tentative methodology would include

the following:

e Review documents and talk with Kansas Board of Regents or Revisor’s staff to
determine whether statutes or other rules govern how community colleges fund
athletic programs.

e Work with community college staff to understand things such as how athletic
budgets are determined and the ways athletic programs are funded.

e Analyze financial data from a selection of community colleges to determine how
much they spent on athletic programs in recent years and what the funding sources
were. This would include identifying whether the sources were local, state, private, or
another source.
Case 2:22-cv-02048-JAR-ADM Document 16-2 Filed 06/03/22 Page 2 of 2

Objective 2: What percentage of community college athletes come from outside of the
county where the community college is located and how has that changed in the last
ten years? Our tentative methodology would include the following:

¢ Talk with community college staff to understand how they recruit athletes. Talk with
the Kansas Jayhawk Community College Conference, the National Junior College
Athletic Association, or others to determine what rules govern how community
colleges recruit students.

e Fora selection of community colleges, analyze data on the number of athletes that
played on intercollegiate athletic tearns in the last ten years.

e Work with community colleges to determine where each athlete’s hometown was.
Analyze that information to understand what percentage of athletes were from the
county where the community college was located. Additionally, determine what
percentage were from out-of-state or out of the country. Analyze trends over time.

Objective 3: How many community college athletes received scholarships in the last ten
years and where were those athletes from? Our tentative methodology would include the

following:

e Work with community college staff to understand how they determine how many
scholarships to award and who is eligible to receive them. Also, talk with the Nationa!
Junior College Athletic Association and the Kansas Jayhawk Community College
Conference to understand any guidelines or oversight they provide.

e Analyze data from a selection of community colleges to determine the number of
athletic scholarships each college awarded in the last ten years. Further, determine
other characteristics of scholarship recipients including what sport they played, and
where they were from (local community, out-of-state, etc.).

e Additionally, compare the number of scholarship recipients to the total number of
athletes to determine what percentage of athletes received scholarships.

ESTIMATED RESOURCES
We estimate this audit would require a team of 3 auditors for a total of 4 months (from the

time the audit starts to our best estimate of when it would be ready for the committee).
